
MEMORANDUM**
The bankruptcy court properly ruled that of the seven payments debtor Shamrock Equipment Co., Inc. (“Shamrock”) made to Appellant Norco Products, Inc. *192(“Norco”) during the preference period, the first four were made in the ordinary course of business, but the last three were not. The payments in question were not ordinary to Norco’s and Shamrock’s relationship. Neither did they fall within the prevailing business standards established in the record. See Sulmeyer v. Suzuki (In re Grand Chevrolet, Inc.), 25 F.3d 728, 732-33 (9th Cir.1994); see also In re Weilert RV, Inc., 315 F.3d 1192, 1197 (9th Cir.2003).
AFFIRMED.

 This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by Ninth Circuit Rule 36-3.

